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COLE SCHOTZ P.C.
Michael D. Sirota
Felice R. Yudkin
Ryan T. Jareck
Mark Tsukerman
Rebecca W. Hollander
1325 Avenue of the Americas, 19th Floor
New York, New York 10019
(212) 752-8000
(212) 752-8393 Facsimile

Proposed Counsel to the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:

 GEORGE WASHINGTON BRIDGE BUS                                 Chapter 11
 STATION DEVELOPMENT VENTURE
 LLC,1                                                        Case No. __________ (___)

                                     Debtor.


                   DECLARATION OF BERNARD A. KATZ IN SUPPORT OF
                    CHAPTER 11 PETITION AND FIRST DAY PLEADINGS

          I, BERNARD A. KATZ, hereby declare under penalty of perjury that the following is

true to the best of my knowledge, information, and belief:

          1.      I am the Manager of George Washington Bridge Bus Station Development

Venture LLC, the debtor and debtor in possession (the “Debtor”) in the above-captioned case.

To minimize any business disruption caused by the commencement of this Chapter 11 Case (as

defined below), the Debtor seeks various forms of relief through “first day” applications and



          1
           The last four digits of the debtor’s federal taxpayer identification number are 8685. The debtor’s business
address is 11890 Sunrise Valley Drive, Suite 554, Reston, VA 20191.


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motions filed contemporaneously herewith (collectively, the “First Day Pleadings”). I submit

this declaration (this “Declaration”) in support of (a) the Debtor’s voluntary petition for relief

under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and (b) the First

Day Pleadings. I am authorized to submit this Declaration on behalf of the Debtor.

         2.       I am a principal of BAK Advisors Inc., a financial advisory firm. I have over

thirty (30) years of experience in forensic accounting, restructuring services and financial

advisory services to growth-oriented and distressed companies. Because of my practice industry

experience, I have been asked to serve on several advisory boards to assist businesses in meeting

their strategic objectives.

         3.       On or about July 30, 2019, I was engaged by the Debtor to assist on all financial

issues pending the engagement of a financial advisor, including assessing the Debtor’s financial

projections and liquidity needs. Since that engagement, I have attempted to become familiar

with the Debtor’s operations, books and records and financial affairs. On or shortly prior to the

Petition Date (defined herein), I was appointed as the sole Manager of the Debtor. In view of

my recent appointment as Manager of the Debtor, my knowledge of the Debtor’s operational

history, business activities, capital structure and organizational structure is evolving. Except as

otherwise stated, all facts set forth in this Declaration are based on my personal knowledge, my

discussions with the Debtor’s members and advisors, my review of the relevant documents, or

my opinion, and my experience and knowledge of the Debtor’s operations and financial

conditions. In making this Declaration, I have relied in part on information and materials that the

Debtor’s members and advisors have gathered, prepared, verified, and provided to me, in each

case under my supervision, at my direction, and for my use in preparing this Declaration. If

called upon to testify, I would testify competently to the facts set forth in this Declaration.



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         4.       This Declaration is divided into three parts. Part I provides background

information about the Debtor, its business operations, its corporate and capital structures, and the

circumstances surrounding the commencement of the Chapter 11 Case. Part II sets forth the

facts in support of the First Day Pleadings. Part III contains the information required under

Local Bankruptcy Rule 1007-2.

                                             Background

         A.       The Chapter 11 Case

         5.       On the date hereof (the “Petition Date”), the Debtor commenced this case by

filing a petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Case”).

         6.       The Debtor continues to operate its business and manage its property as a debtor

and debtor in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

         7.       To date, the Office of the United States Trustee for the Southern District of New

York (the “U.S. Trustee”) has not appointed a creditors’ committee in the Chapter 11 Case nor

has any trustee or examiner been appointed herein.

         B.       The Debtor’s Business

         8.       The George Washington Bridge Bus Station (the “Bus Station”), which originally

opened on January 17, 1963, acts as a transit facility operated by the Port Authority of New York

and New Jersey (the “Port Authority”). The Bus Station is located at the east end of the George

Washington Bridge in the Washington Heights section of New York City. The Bus Station

serves approximately 13,000 weekday passengers, mainly commuting between New York City

and northern New Jersey.

         9.       On June 30, 2011, the Port Authority approved a $183.2 million renovation and

improvement plan (the “Project”) for the Bus Station. The Project was structured as a public-

private venture between the Port Authority, as owner of the Bus Station, and the Debtor, as

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developer. The Project included relocating the bus terminals to the third floor of the complex and

creating a state-of-the-art ground transportation hub. A new 15,000 square foot bus terminal was

built increasing the number of gates from 17 to 22 and 85,000 square feet of the existing bus

station was reconfigured and upgraded. By relocating the bus station terminal to the third floor

of the complex, a retail center of approximately 129,000 square feet was created.

         10.      The Debtor was responsible for the construction of both the retail and bus

terminal components of the Project. In connection with the construction, on June 25, 2013, the

Debtor entered into a contract (the “Construction Contract”) with Tutor Perini Building Corp.

(“Tutor Perini”), as general contractor for the Project, with a guaranteed maximum price of

$100,454,000. The Construction Contract provided for the demolition and abatement of portions

of the existing structures of the Bus Station to allow the building’s reconstruction and

remodeling. The Construction Contract also provided for Tutor Perini to conduct the

reconstruction and remodeling work, except for the build-out of the majority of the retail spaces.

The Bus Station remained operational during the renovation, which began in 2012 and, after

significant construction delays (described below), was substantially completed in August of

2017.

         11.      Pursuant to an Agreement of Lease dated July 21, 2011, in addition to serving as

the developer of the Bus Station, the Debtor was granted a 99-year lease to operate and maintain

the retail portion of the Bus Station (the “Retail Space”). The Debtor began leasing operations

on August 1, 2017. As of the Petition Date, approximately ninety-one percent (91%) of the

Retail Space was occupied by, among others, Marshalls, Gap Factory, Blink Fitness and Fine

Fare. In addition, the Debtor is in the process of finalizing and executing two (2) additional lease

agreements for approximately two percent (2%) of the Retail Space. Those tenants have not yet



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taken possession because of the ongoing build-out of their respective spaces (at the cost of the

tenants). Approximately seven percent (7%) of the Retail Space, consisting of seven (7) small

stores, remains unleased and vacant.

         12.      Historically, the Debtor’s sole source of revenue has been the collection of rental

payments. As of the Petition Date, tenants paid approximately $380,000 a month in rent and the

Debtor had assets and liabilities of approximately $93.5 million and $133 million, respectively.

         13.      As of the Petition Date, the Debtor did not have any employees. The Retail Space

is managed by GWB Ninety Nine LLC, an affiliate of the Debtor, pursuant to the terms of a

Property Management and Leasing Agreement dated June 3, 2011. Furthermore, the Debtor

utilizes the services of several independent contractors and/or consultants to perform the day-to-

day maintenance, operation and management of the Retail Space.

         C.       The Debtor’s Corporate and Capital Structure

         14.      The Debtor, a Delaware limited liability company, was formed on March 16,

2006. The members of the Debtor are GWB Development Partners, LLC and Marketplace

GWB, LLC (“Marketplace GWB”), with ownership interests of 91% and 9%, respectively.

The Debtor’s organizational structure is set forth in Exhibit A.

         15.      As of the Petition Date, the Debtor’s capital structure consisted of outstanding

funded debt obligations in the aggregate principal amount of approximately $105 million.

                  (i) Pre-Petition Loan Agreement with George Washington Bridge Bus
                      Station and Infrastructure Development Venture, LLC

         16.      The Debtor is a party to the Senior Secured Loan Agreement with George

Washington Bridge Bus Station and Infrastructure Development Fund, LLC (the “Senior

Secured Lender”), whereby Senior Secured Lender agreed to provide the Debtor a loan




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(the “Senior Secured Loan”)2 in the aggregate principal amount of not less than $72,000,000

plus all accrued but unpaid interest, fees, expenses, and all other obligations expressly provided

for thereunder, or incurred in connection therewith (such obligations under the Senior Secured

Loan and the Senior Secured Loan Documents, the “Senior Secured Loan Obligations”).

         17.      The Senior Secured Loan Obligations are guaranteed by non-debtor GWB

Development Partners LLC (the “Senior Secured Loan Guarantor”) pursuant to that certain

Deficiency Guaranty dated July 20, 2011 (the “Senior Secured Loan Guaranty”). Pursuant to

the Senior Secured Loan Guaranty, the Senior Secured Loan Guarantor unconditionally and

absolutely guaranteed the prompt and punctual payment of the Senior Secured Loan, provided

that the Senior Secured Loan Guaranty is limited to the deficiency obtained by Senior Secured

Lender following Senior Secured Lender’s suing on the mortgage note and/or foreclosure under

the Mortgage (as hereinafter defined).

         18.      In addition, to secure the Senior Secured Loan Obligations, the Debtor provided

the Senior Secured Lender with a mortgage (the “Mortgage”) on the leasehold estate on the

premises located in New York, New York, known as Section 8, Block 2163, Lot 1 and Block

2176, Lot 17 (i.e., the Bus Station) (the “Mortgaged Property”). Under the Mortgage, the

Debtor granted to the Senior Secured Lender a security interest in the personalty, the fixtures,

plans, leases, rents, property agreements, equipment and all other Mortgaged Property which is

personal property (each within the meaning of the Uniform Commercial Code (“UCC”)). The

Debtor also assigned all right, title and interest in and to the leases and rents in connection with

the Mortgaged Property, pursuant to that certain Assignment of Leases and Rents, dated as of


         2
           The Senior Secured Loan issued under the Senior Secured Loan Agreement, together with any ancillary
documents, security agreements, guarantees, pledge agreements and notes issued in connection therewith shall
collectively be referred to herein as, the “Senior Secured Loan Documents.”


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July 20, 2011 (the “ALR”). Under the ALR (1) the Debtor presently assigned its right to collect

rental income to the Senior Secured Lender, (2), the Senior Secured Lender waived its right to

collect rental income under a license to the Debtor so long as the Debtor continued to perform its

obligations under the parties’ agreements, and (3) the Senior Secured Lender retained the right to

revoke the license to the Debtor, allowing the Senior Secured Lender to recoup its right to collect

rental income in the event of Debtor’s default on the parties’ agreements.

         19.      To further secure the Senior Secured Loan Obligations, the Debtor entered into

various security and collateral documents pursuant to and in connection with the Senior Secured

Loan Agreement, including the Intercreditor Agreements (as defined below), pursuant to which

the Senior Secured Lender was granted the benefit of valid, binding, perfected, enforceable, first-

priority liens and security interests in the Senior Collateral (as defined below) (the “Senior

Secured Loan Liens”). The Senior Secured Loan Liens provide the Senior Secured Lender with

valid, binding, perfected, enforceable, first-priority liens, and security interests in the Collateral

(as defined in the Senior Secured Loan Agreement) (such Collateral, the “Senior Collateral”).

         20.      As of the Petition Date, approximately $72 million is outstanding under the

Senior Secured Loan Agreement, exclusive of accrued but unpaid interest.

                  (ii) Pre-Petition Loan Agreement with GWB Leverage Lender, LLC

         21.      On December 26, 2013, GWB NMTC Investment Fund LLC (the “Funding

Borrower”) made investments in, and became the 99.99% member of, each of the Building

Lenders,3 each of which were formed for the purpose of making qualified low-income


        3
          GSNMF Sub-CDE 12 LLC, as one of the lenders (the “Building Secured Lender,” and together with the
Senior Secured Lender and UMEZ, the “Prepetition Secured Parties”) of $19,065,000 in loans (the “Building
Loans”) under that certain Building Loan Agreement, dated as of December 26, 2013 (as amended, restated,
supplemented, or modified from time to time, the “Building Loan Agreement”) by and among the Debtor, GSB
NMTC Investor LLC, as administrative agent, Building Secured Lender, LIIF Sub-CDE XXVI, LLC and DVCI
CDE XIII, LLC as co-lenders (collectively with the Building Secured Lender, the “Building Lenders”).


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community investments in connection with the New Markets Tax Credit Program (provided for

in Section 45D of the Internal Revenue Code). The Building Lenders made Building Loans in

the original aggregate principal amount of up to $19,065,000 to the Debtor to finance the

development of the project.

         22.      A portion of the Building Loans was funded by Foodco, LLC (“Foodco”) to

Funding Borrower under that certain Senior Leverage Loan Agreement dated as of December 26,

2013 (as amended, restated, supplemented, or modified from time to time, the “FoodCo Loan

Agreement,” and together with any ancillary documents, pledge agreements, guarantees, and

notes issued in connection therewith, collectively the “FoodCo Loan Documents”) in respect of

a loan (the “FoodCo Loan”) in the aggregate principal amount of not more than $10,000,000

plus all accrued but unpaid interest, fees, expenses, and all other obligations expressly provided

for thereunder, or incurred in connection therewith (such obligations under the FoodCo Loan and

the FoodCo Loan Documents, the “FoodCo Loan Obligations”). The FoodCo Loan was

utilized by the Funding Borrower to indirectly fund $10,000,000 of the Building Loans (such

portion of the Building Loan, the “FoodCo Building Loan”, and such obligations under the

FoodCo Building Loan, the “FoodCo Building Loan Obligations”).

         23.      To secure the FoodCo Loan Obligations, the Funding Borrower entered into

various security and collateral documents pursuant to and in connection with the FoodCo Loan

Documents, pursuant to which FoodCo was granted or otherwise entitled to the benefit of a

valid, binding, perfected, enforceable, pledge of all of Funding Borrower’s assets, including all

of its non-managing membership interests in each of the Building Lenders (the “FoodCo Loan

Pledge”). The FoodCo Loan Pledge provided FoodCo with a valid, binding, perfected,




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enforceable, lien, security interest, and pledge of the Collateral (as defined in the FoodCo Loan

Agreement).4

         24.      George Washington Bridge Bus Station and Infrastructure Development Fund,

Phase II, LLC (“Loan Member”) made member loans to GWB Leverage Lender, LLC

(the “Direct Lender”) pursuant to that certain Limited Liability Company Agreement of GWB

Leverage Lender, LLC, dated as of April 7, 2014, by and between Loan Member and GWB

Development Partners, LLC, in the maximum amount of $19,000,000 (the “Member Loan”).

With the Member Loan in place, the Direct Lender acquired from and was assigned all rights as

lender of the Foodco Loan, under which the Funding Borrower was indebted and liable to

FoodCo.

         25.      In addition, with the Member Loan in place, Direct Lender entered into that

certain Loan Agreement dated as of April 7, 2014, as amended, restated, supplemented, or

modified from time to time, along with certain ancillary documents, pledge agreements,

guarantees, and notes issued in connection therewith, thereby extending a loan (the “Direct

Loan”, and collectively with the Senior Secured Loan and the FoodCo Building Loan, the

“Prepetition Senior Loans”) to the Debtor in the aggregate principal amount of not less than

$9,000,000 plus all accrued but unpaid interest (including at the default rate, as applicable), fees,

expenses, and all other obligations expressly provided for thereunder, or incurred in connection

therewith (such obligations under the Direct Loan and the Direct Loan Documents, the “Direct

Loan Obligations”, and collectively with the Senior Secured Loan Obligations and the FoodCo

Building Loan Obligations, the “Prepetition Senior Loan Obligations”).


         4
          Upon the Debtor’s repayment of the FoodCo Building Loan Obligations to the Building Lenders, the
Building Lenders are required to dividend such proceeds to the Funding Borrower, who is required to repay the
FoodCo Loan to the Direct Lender.


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         26.      Accordingly, as of Petition Date, the Debtor was indebted and liable to the

Building Lenders in respect of the Building Loans issued under the Building Loan Agreement

(together with any ancillary documents, security agreements, guarantees, pledge agreements and

notes issued in connection therewith, collectively, the “Building Loan Documents”) in the

aggregate principal amount of not less than $19,065,000 plus all accrued but unpaid interest,

fees, expenses, and all other obligations expressly provided for thereunder, or incurred in

connection therewith (such obligations under the Building Loan and the Building Loan

Documents, the “Building Loan Obligations”), and in accordance with the Intercreditor

Agreements, the Building Lenders are subordinated in right of payment to the prior payment in

full of (i) the Senior Secured Loan, (ii) the Direct Loan, and (iii) the UMEZ Loan (as defined

below), other than in respect of the FoodCo Building Loan, which shall be paid in full before any

repayment on account of the UMEZ Loan.

         27.      To secure $5,000,000 (plus interest thereon and any and all fees with respect

thereto) of Building Loan Obligations (the “Building Secured Loan Obligations,” and, together

with the Senior Secured Loan Obligations and the UMEZ Loan Obligations (as defined below),

the “Prepetition Secured Debt”), the Debtor entered into various security and collateral

documents pursuant to and in connection with the Building Loan Documents pursuant to which

the Building Secured Lender (but not the other Building Lenders) was granted or otherwise

entitled to the benefit of a valid, binding, perfected, enforceable, mortgage (the “Building Loan

Mortgage” and, together with the Senior Secured Loan Liens and the UMEZ Mortgage (as

defined below), the “Prepetition Liens”) in the Mortgaged Property (such Mortgaged Property,

the “Building Loan Collateral,” and collectively with the Senior Collateral and the UMEZ Loan

Collateral, the “Prepetition Collateral”). The Building Loan Mortgage provides the Building



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Secured Lender with valid, binding, perfected, enforceable, liens, and security interests in the

Building Loan Collateral that are (i) not subject to avoidance, recharacterization, subordination,

recovery, attack, effect, counterclaim, defense, or claim under the Bankruptcy Code or applicable

non-bankruptcy law and (ii) as of the Petition Date, are subject and subordinate only to certain

valid, perfected, and unavoidable liens, including the Senior Secured Loan Liens, which are

senior to the liens of the Building Secured Lender on the Building Loan Collateral.

         28.      A diagram of the debt investment structure in the Debtor, including the flow of

the Building Loans and Direct Loan is attached to the Debtor’s Motion for Interim and Final

Orders (I) Authorizing the Debtor to Obtain Postpetition Financing, (II) Authorizing the Debtor

to Use Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative

Expense Status, (IV) Granting Adequate Protection, (V) Modifying the Automatic Stay, (VI)

Scheduling a Final Hearing, and (VII) Granting Related Relief as Exhibit D.

         29.      As of the Petition Date, approximately $19,065,000 is outstanding under the

Building Loans, exclusive of accrued but unpaid interest. As of the Petition Date, approximately

$9,000,000 is outstanding under the Direct Loan, exclusive of accrued but unpaid interest.

                  (iii) Pre-Petition Loan Agreement with Upper Manhattan Empowerment
                        Zone Development Corporation

         30.      Before the Petition Date, the Debtor was indebted and liable to Upper Manhattan

Empowerment Zone Development Corporation (“UMEZ”) in respect of a $5,000,000 loan

(the “UMEZ Loan”) made pursuant to that certain Loan Agreement dated as of February 27,

2018 (as amended, restated, supplemented, or modified from time to time, the “UMEZ Loan

Agreement”, and together with any ancillary documents, security agreements, guarantees,

pledge agreements and notes issued in connection therewith, collectively, the “UMEZ Loan

Documents”) in the aggregate principal amount of not less than $5,000,000 plus all accrued but


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unpaid interest, fees, expenses, and all other obligations expressly provided for thereunder, or

incurred in connection therewith (such obligations under the UMEZ Loan and the UMEZ Loan

Documents, the “UMEZ Loan Obligations”), and in accordance with the Intercreditor

Agreement, UMEZ (subject to limited exclusions) is subordinated in right of payment to the

prior payment in full of the Prepetition Senior Loans.

         31.      To secure the UMEZ Loan Obligations, the Debtor entered into various security

and collateral documents pursuant to and in connection with the UMEZ Loan Documents,

including the Intercreditor Agreement, pursuant to which UMEZ was granted or otherwise

entitled to the benefit of a valid, binding, perfected, enforceable, mortgage (the “UMEZ

Mortgage”) on the Mortgaged Property (as defined in the UMEZ Loan Agreement) (such

Mortgaged Property, the “UMEZ Loan Collateral”). The UMEZ Mortgage provides UMEZ

with a valid, binding, perfected, enforceable, mortgage on the UMEZ Loan Collateral that is

(i) not subject to avoidance, recharacterization, subordination, recovery, attack, effect,

counterclaim, defense, or claim under the Bankruptcy Code or applicable non-bankruptcy law

and (ii) as of the Petition Date is subject and subordinate only to certain valid, perfected, and

unavoidable liens, including the Senior Secured Loan Liens and the Building Loan Mortgage

(solely to the extent the Building Loan Mortgage applies to the FoodCo Building Loan

Obligations), which are senior to the liens of UMEZ on the UMEZ Loan Collateral.

         32.      As of the Petition Date, approximately $4.8 million is outstanding under the

UMEZ Loan Agreement, exclusive of accrued but unpaid interest.

                  (iv) Intercreditor Arrangements

         33.      The Debtor, the Prepetition Secured Parties, the Direct Lender, and the Building

Lenders are subject to that certain Subordination and Intercreditor Agreement dated as of

February 27, 2018 (as amended, restated, supplemented or modified from time to time before the

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date hereof, the “Intercreditor Agreement”) pursuant to which (i) the Prepetition Secured

Parties set forth the respective priorities of the Prepetition Liens on the Prepetition Collateral,

and (ii) the Prepetition Secured Parties, the Direct Lender, and the Building Lenders set forth the

priority of payment in respect of the Prepetition Secured Debt and the Building Loans. Pursuant

to the Intercreditor Agreement (x) any lien on the Prepetition Collateral securing the Senior

Secured Loan Obligations shall have priority over and be senior in all respects and before any

lien on the Prepetition Collateral securing any UMEZ Loan Obligations or Building Secured

Loan Obligations and (y) any lien on the Prepetition Collateral securing the UMEZ Loan

Obligations shall have priority over and be senior in all respects and before any lien on the

Prepetition Collateral securing any Building Secured Loan Obligations (other than the liens

pertaining to the FoodCo Building Loan Obligations, which such FoodCo Building Loan

Obligations shall rank first and prior to the UMEZ Loan Obligations). Furthermore, pursuant to

the Intercreditor Agreement, the UMEZ Loan Obligations and the Building Loan Obligations are

subordinated in right of payment to the Prepetition Senior Loan Obligations.

         34.      The Prepetition Senior Secured Lender, the Direct Lender, and the Debtor are

subject to that certain Subordination and Intercreditor Agreement dated as of February 27, 2018

(as amended, restated, supplemented or modified from time to time, the “Senior Intercreditor”)

pursuant to which the Direct Lender is payment and lien subordinated to the Senior Secured

Lender.

         35.      The Direct Lender and the Building Lenders are subject to that certain

Subordination and Intercreditor Agreement dated as of April 7, 2014 (as amended, restated,

supplemented or modified from time to time, the “Direct Loan Intercreditor”) pursuant to




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which the Building Loan Obligations, including the Secured Building Loan Obligations, are lien

and payment subordinated in all respects to the Direct Loan Obligations.

         36.      The Senior Secured Lender and the Building Lenders are subject to that certain

Subordination and Intercreditor Agreement dated as of December 26, 2013 (as amended,

restated, supplemented or modified from time to time, the “Building Loan Intercreditor”, and

collectively with the Senior Intercreditor, the Direct Loan Intercreditor, and the Intercreditor

Agreement, the “Intercreditor Agreements”) pursuant to which the Building Loan Obligations,

including the Secured Building Loan Obligations, are lien and payment subordinated in all

respects to the Senior Secured Loan Obligations.

         D.       Events Precipitating the Chapter 11 Case and Outcome Sought to be
                  Achieved

         37.      At its inception, the Debtor anticipated the Project would cost $183 million and

take one year to complete. The Debtor budgeted its costs and obtained financing for the Project

with the expectation that Tutor Perini would meet the substantial completion dates set forth in

the Construction Contract. As set forth herein, Tutor Perini caused the Project to be delayed

years beyond the original anticipated dates of substantial completion.

         38.      As a result of thirty (30) months of delays by Tutor Perini, significant cost

overruns existed on the Project. The Debtor incurred millions of dollars of unanticipated costs

for interest on loans and additional project carrying costs, including approximately $1.7 million

in delay charges that the Debtor was forced to pay the Port Authority for the failure to deliver the

Project on time. Additionally, the Debtor paid over $11 million of interest during the delay

period and millions of dollars of rent receipts were lost due to the delays. The Debtor also

incurred more than $14 million of expenses while arbitrating its disputes with Tutor Perini (as set

forth in more detail below) and the Debtor’s principals were forced to infuse an additional $5.5


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million of new capital to cover the Debtor’s arbitration expenses. Those losses are directly

attributable to the Project delays caused by Tutor Perini.

         39.      After Tutor Perini missed the contractual deadline to complete the Project, the

Debtor started withholding approximately $1 million from each of Tutor Perini’s progress

payments as liquidated damages under the Construction Contract. The $1 million withholdings

were largely consumed by debt service, delay charges to the Port Authority, additional architect

and engineering costs, legal fees, and lease penalties.

         40.      Tutor Perini disputed the Debtor’s entitlement to withhold funds from the

progress payments. In response to that dispute, on February 26, 2015, the Debtor commenced an

arbitration by way of Arbitration Demand submitted to the American Arbitration Association

(“AAA”). The Arbitration Demand sought a declaration that (i) all claims for payment

submitted by Tutor Perini were waived because they were not timely submitted or, alternatively,

(ii) Tutor Perini’s claims for payment were not valid. On or about January 24, 2017, Tutor Perini

filed an Answering Statement and Counterclaim against the Debtor asserting $130 million of

damages.

         41.      Following a lengthy arbitrator-selection period, the Debtor and Tutor Perini

selected an arbitration panel and commenced the arbitration process on August 22, 2018. As of

the Petition Date, 67 days of evidentiary hearings had been conducted during which Tutor Perini

put on its entire case-in-chief. The Debtor, however, has not yet presented its case. After Tutor

Perini’s case-in-chief was complete, the Debtor’s construction counsel withdrew from

representing the Debtor in the arbitration. Tutor Perini took advantage of the Debtor’s

vulnerability and filed an application for a preliminary injunction and order of attachment.

Despite repeated requests for an adjournment or stay to allow the Debtor time to secure



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replacement counsel, the arbitration panel held a hearing on Tutor Perini’s application.

Ultimately, on June 4, 2019, the panel issued an Interim Order granting Tutor Perini’s request for

an order of attachment in the amount of $23 million (the “Interim Attachment Order”) against

any “EB5 funds, funds paid by the Port Authority and/or net lease payments in the possession of

the [Debtor].”

         42.      On June 6, 2019, Tutor Perini filed a petition to confirm the Interim Attachment

Order in the United States District Court for the Southern District of New York. The Debtor, in

turn, filed a cross-motion to vacate the Interim Attachment Order. On July 15, 2019, the District

Court entered an order granting Tutor Perini’s petition to confirm the Interim Attachment Order

and denying the Debtor’s cross-motion. On July 22, 2019, the District Court entered a judgment

to that effect in favor of Tutor Perini. Since then, Tutor Perini has (i) served the Debtor with a

Subpoena Duces Tecum Ad Testificandum requiring the production of documents and an

examination of the Debtor’s representative relating to its satisfaction of the Interim Attachment

Order, (ii) filed a letter motion in the arbitration seeking a remedy for the Debtor’s failure to

comply with the Interim Attachment Order, (iii) tried to intervene in the pending foreclosure

action (described below) and (iv) sought to amend its interim award to obtain an attachment on

the Debtor’s leasehold interest with the Port Authority.

         43.      On September 24, 2019, the AAA held oral argument on the issue of whether the

Interim Attachment Order can affect the rights of third parties such as the Senior Secured Lender

that are not a part of the arbitration proceeding. On October 3, 2019, the AAA issued an Order,

which held the following:

                  (i)      The Debtor willfully violated the Interim Attachment Order;

                  (ii)     The Debtor transferred funds subject to the Interim Attachment Order for
                           the payment of personal expenses of one of its principals and for the
                           payment of legal expenses; and

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                  (iii)    The Debtor wrongfully transferred net rental income received to the Senior
                           Secured Lender.

         44.      The AAA ordered all of the aforementioned transfers, among others, be returned to

the Debtor’s operating account by November 1, 2019. The Debtor vehemently disagrees with the

AAA’s ruling.

         45.      Due to Tutor Perini’s efforts to deprive the Debtor of its cash, the Debtor faces the

possibility that it will be unable to pay critical Contractors (defined below) and trade vendors

who ensure that the Retail Space is maintained in safe working condition. For example, if the

Debtor is not able to pay its contract counterparties, those parties may cease providing fire

prevention and protection services and elevator and escalator maintenance services. The

cessation of such services could have a devastating impact on the Debtor and those individuals

who work at, shop at, and/or pass through the Retail Space.

         46.      Aside from the Debtor’s inability to satisfy the Interim Attachment Order, the

Debtor has also been unable to satisfy its debt service obligations to the Senior Secured Lender

and defaulted on such obligations on April 10, 2019. Recognizing the cash shortfall realities of

the Project, the Debtor and the Senior Secured Lender entered into negotiations for a consensual

restructuring and forbearance. During the course of those negotiations, the Interim Attachment

Order was entered.

         47.      Upon entry of the Interim Attachment Order, on July 19, 2019, the Senior Secured

Lender commenced a foreclosure action against the Debtor in the Supreme Court of New York,

County of New York. Additionally, given the Debtor’s default, the Debtor was obligated to and

notified the current tenants of the Retail Space that all current and future rent payments were to

be deposited into a lockbox, over which the Senior Secured Lender has control. A majority of

the Debtor’s tenants now pay rents directly to the Senior Secured Lender.


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         48.      Prior to the Petition Date, the Debtor maintained approximately $350,000 in cash

from rents received on the Project which, with the consent of the Senior Secured Lender, the

Debtor used to pay pre-petition expenses. As of the Petition Date, the Debtor is not in control or

possession of any rent payments from its tenants and the Senior Secured Lender is properly in

full control of all funds that emanate from the Project.

         49.      On August 28, 2019, Loan Member, as assignee of that certain Pledge and

Security Agreement (Direct Loan) dated as of January 31, 2019, provided the Debtor notice of its

right to foreclose through a public sale under the UCC of (i) 9% of the issued and outstanding

limited liability company interests in the Debtor and (ii) Marketplace GWB’s rights, title and

interest with respect to the Debtor’s Operating Agreement including those rights as Managing

Member of the Debtor. A public foreclosure sale is currently scheduled for October 17, 2019.

         50.      In view of the Interim Attachment Order and pending foreclosure actions, the

Debtor began exploring potential strategic alternatives to maximize value, including a sale,

restructuring, or other transaction. The Debtor, in consultation with its advisors and counsel,

determined that, given its deteriorating liquidity position and pending arbitration with Tutor

Perini, a sale of the Debtor was the best available option to maximize value, and that an in-court

marketing process was the only reasonably executable structure through which a value-

maximizing transaction could be completed. Led by its experienced proposed investment

banker, Houlihan Lokey, the Debtor intends to conduct a thorough post-petition marketing

process of no more than 135 days, thereby providing significant opportunity for interested

bidders to formally bid for the Debtor’s assets and business operations.

         51.      To implement the value-maximizing sale process and preserve asset value during

the pendency of the Chapter 11 Case, the Debtor realized it would require an infusion of new



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liquidity. Before the Petition Date, the Debtor, with the assistance of its professional advisors,

evaluated options to improve postpetition liquidity. In that regard, the Debtor and I reached out

to several potential lenders including the Senior Secured Lender, the most likely source of

debtor-in-possession (“DIP”) financing. After extensive arm’s-length and good faith

negotiations, New York City Regional Center, LLC (“NYCRC”), an affiliate of the Senior

Secured Lender, agreed to provide the Debtor with DIP financing. That financing will facilitate

the marketing process and provide the Debtor with new capital—in the form of a senior secured,

priming, superpriority DIP term loan facility in the aggregate principal amount of approximately

$4.4 million—needed to allow the Debtor to continue operations and fund administrative

expenses through the closing of the sale. The DIP financing is conditioned on certain sale and

plan milestones culminating in the consummation of a sale and/or confirmation of a Chapter 11

plan within 150 days of the Petition Date.

                                          First Day Pleadings

         52.      To facilitate its restructuring efforts, the Debtor has concurrently filed the First

Day Pleadings, each as listed on the attached Exhibit B, and respectfully requests that this Court

enter the proposed orders granting such First Day Pleadings. Among other things, the relief

requested in these pleadings will enable the Debtor to continue to pay critical Contractors and

trade vendors who ensure that the Retail Space is maintained in safe working condition. As

described above, in the event of nonpayment, the cessation of certain critical fire, safety, and

maintenance services could have a devastating impact on the Debtor and those individuals who

work at, shop at, and/or pass through the Retail Space.

         53.      I have reviewed each of the First Day Pleadings and proposed orders (including

the exhibits thereto), and the facts set forth therein are true and correct to the best of my

knowledge, information, and belief. I believe that the relief sought in each First Day Pleading (a)

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is vital to enable the Debtor’s transition into, and ability to operate in, chapter 11 with minimum

interruption or disruption to its business and to maintain and preserve safety and security services

and (b) constitutes a critical element in maximizing value during this Chapter 11 Case and

facilitating a successful value-maximizing marketing process.

         A.       Motion to Extend the Debtor’s Time to File Schedules and Statements

         54.      The Debtor seeks a 14-day extension of the time within which to file its schedules

of assets and liabilities and statement of financial affairs (collectively, the “Schedules and

Statements”). Such an extension would provide the Debtor with a total of 28 days from the

Petition Date in which to file its Schedules and Statements. Although the Debtor and its

professionals have begun preparing the Schedules and Statements, the substantial burdens

imposed on the Debtor’s management by the commencement of this Chapter 11 Case, including

the need to negotiate agreements regarding the post-petition use of cash collateral and the

extension of post-petition financing, are such that the Debtor requires additional time to prepare

the Schedules and Statements.

         B.        Motion to Authorize the Debtor to Obtain Post-Petition Financing and Use
                   Cash Collateral

         55.      The Debtor requires immediate access to liquidity to ensure that it is able to

continue operating during this Chapter 11 Case and preserve the value of its assets and estate for

the benefit of all parties-in-interest. Absent immediate access to the DIP Financing and use of

the Cash Collateral, the Debtor simply cannot continue operations. Specifically, without

immediate access to Cash Collateral, the Debtor will be unable to (a) pay for necessary business

expenses, including the invoices of vendors critical to business operations, such as, among other

safety and security services, elevator and escalator maintenance and repairs, insurance providers,

and janitorial services; (b) preserve and maximize the value of its estate; and (c) administer this


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Chapter 11 Case, causing immediate and irreparable harm to the value of the Debtor’s estate to

the detriment of all stakeholders. Moreover, DIP financing and use of Cash Collateral are

necessary to provide vendors with the comfort that the Debtor can continue to operate and pay

them in the ordinary course, which is particularly important given vendor concerns regarding the

Debtor’s current financial situation and the Debtor’s intention to market and sell substantially all

of its assets during this Chapter 11 Case.

         56.      In connection with its liquidity situation and the prospect of a chapter 11 filing,

the Debtor, with the assistance of its advisors and myself, as independent manager, analyzed the

projected cash needs and prepared the budget outlining the Debtor’s post-petition cash needs

during this Chapter 11 Case. The Debtor believes that the DIP financing budget and its

projections provide an accurate reflection of the funding requirements for this Chapter 11 Case,

will allow the Debtor to meet its obligations, and are reasonable and appropriate under the

circumstances. The Debtor relied on these forecasts to determine the amount of post-petition

financing required to administer this Chapter 11 Case.

         57.      As set forth above, during the pre-petition period, the Debtor and I reached out to

several potential lenders including the Senior Secured Lender. The discussions I had with third-

party financing sources contemplated a “priming” DIP facility, which, in my experience, could

not be accomplished in light the current capital structure and the Debtor’s lack of unencumbered

collateral.

         58.      The Debtor found that the terms of the DIP financing proposed by NYCRC,

including the proposed interest rate, fees, and milestones, were reasonable and market-based.

Moreover, it recognized that by obtaining financing from its pre-petition lenders, it could avoid

the possibility of an expensive “priming” fight. Accordingly, the Debtor determined that the



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only logical course of action was to obtain a DIP from its existing lenders in the capital structure.

The Debtor focused its efforts on the DIP financing proposal provided by NYCRC. After

extensive arm’s-length and good faith negotiations, NYCRC agreed to provide the Debtor with

DIP financing.

         59.      Access to post-petition financing, in the form of a superpriority senior secured

multi-draw loan facility extended by NYCRC in an aggregate principal amount of up to $4.4

million (the “DIP Facility”), is critical to the Debtor’s ability to smoothly enter Chapter 11 and

operate post-petition, including by providing sufficient liquidity to fund the administrative cost

of this Chapter 11 Case. As a result, the Debtor believes that the DIP Facility will provide it

with sufficient liquidity to stabilize operations and fund this Chapter 11 Case, while the Debtor

pursues a transaction.

         60.      The Debtor does not have alternative sources of financing available. Substantially

all of the Debtor’s assets are encumbered under their existing capital structure, which, along with

the Debtor’s constrained liquidity position, restricts the availability of, and options for, post-

petition financing.

         61.      The Debtor and its advisors negotiated for approximately two months regarding

the structure and economics of the proposed DIP Facility. Ultimately, the Debtor and NYCRC

agreed to a set of terms that provide the Debtor with necessary access to liquidity during the

pendency of this Chapter 11 Case at fees and rates that the Debtor and its advisors consider to be

reasonable under the current circumstances. Those terms provide the Debtor with the much-

needed liquidity to fund operations and a sale of substantially all of its assets. Based on the DIP

Facility’s reasonable and market-based terms and the related benefits provided by NYCRC, the




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Debtor determined that entry into the DIP Facility is reasonable, fair, and in the best interests of

its estate.

         C.       Motion to Maintain the Debtor’s Existing Insurance Policies

         62.      The Debtor seeks authority to maintain its existing insurance policies

(collectively, the “Insurance Policies”) in the ordinary course of business and to pay on an

uninterrupted basis all premiums, insurance premium financing obligations, deductibles,

administration costs, and brokers’ fees arising thereunder or in connection therewith

(collectively, the “Insurance Obligations”) in the ordinary course of business and to renew,

revise, extend, supplement, change, or enter into new insurance policies as needed in its business

judgment without further order of this Court.

         63.      Continuation and renewal of the Insurance Policies and entry into new insurance

policies is essential to protecting the value of the Debtor’s business, property, and assets.

Among other things, the Debtor is required to maintain various insurance policies pursuant to its

lease with the Port Authority. Moreover, some of the Insurance Policies are required by various

regulations, laws, and contracts that govern the Debtor’s commercial activities, and section

1112(b)(4)(C) of the Bankruptcy Code provides that “failure to maintain appropriate insurance

that poses a risk to the estate or to the public” is “cause” for mandatory conversion or dismissal

of a chapter 11 case. 11 U.S.C. § 1112(b)(4)(C).

         64.      Although the Debtor does not believe any pre-petition Insurance Obligations are

currently due and owing, out of an abundance of caution, it also seeks the authority, but not the

direction, to pay all pre-petition Insurance Obligations, to the extent any exist, and, specifically,

to pay any and all insurance premium financing obligations that become due and owing within

the first 21 days of this Chapter 11 Case, if any. Absent the relief requested in this motion, the

Debtor’s estate could be irreparably harmed.

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         E.       Motion to Pay Pre-Petition Obligations to Independent Contractors and
                  Consultants

         65.      The Debtor principally relies on the services of five (5) independent contractors

and/or consultants to perform the day-to-day maintenance, operation and management of the

Retail Space (the “Contractors”). The Contractors have critical roles with the Debtor, which

may generally be described as: (a) a property manager, which oversees and manages all

operations, including, among other things, tenants and personnel; (b) an accountant and project

bookkeeper, which is responsible for the Debtor’s accounting and finances, including, for

example, banking, accounting, processing rent, and billing; (c) an onsite building manager and

superintendent; (d) a technical and mechanical engineering manager, which oversees and

manages all building systems, including elevators and escalators, cooling plant, common area,

HVAC, building fire systems and life safety; and (e) a building construction manager and tenant

punch-list consultant.

         66.      The Debtor does not pay wages, withhold taxes, or provide benefits or paid time

off to the Contractors. Instead, the Debtor makes payments to the Contractors in accordance

with their agreed-upon terms. The Debtor’s property manager is paid monthly, and the

remaining Contractors are paid bi-weekly on the 15th and the final day of each month (or, if such

date is a holiday or weekend, on the immediately preceding business day). The Debtor spends

approximately $56,528 per month on account of payment obligations to the Contractors. The

Debtor estimates that, as of the Petition Date, it owes approximately $43,462 on account of

accrued yet unpaid compensation owed to the Contractors, all of which will become due and

owing within the first 21 days of the Chapter 11 Case.

         67.      In addition, the Debtor routinely reimburses the Contractors for reasonable out-of-

pocket travel, lodging, ground transportation, meals, supplies, or other business-related expenses.


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The Contractors incur such business expenses in the ordinary course of business with the

understanding that they will be reimbursed by the Debtor. The Contractor’s reimbursable

expenses typically amount to less than $1,500 per month in the aggregate. The Debtor estimates

that, as of the Petition Date, it owes the Contractors no more than approximately $1,500 for the

reimbursement of such expenses.

         68.       Given that the Debtor does not have any employees, the Contractors are critical

to the Debtor’s ongoing operations and ability to safely and effectively manage the Retail Space.

If the amounts owed are not received, the Contractors may suffer hardship, potentially making it

difficult or impossible for them to continue working for the Debtor. The Contractor’s failure to

perform their respective services would materially compromise the Debtor’s ability to manage

and operate the Retail Space and preserve and maximize value during the Chapter 11 Case. The

Contractors are critical to the Debtor’s ability to maintain the Retail Space in safe, working

condition. Non-payment of the Contractors could have a devastating impact on the Debtor and

the safety of those individuals who work at, shop at, and/or pass through the Retail Space.

         69.      Accordingly, to avoid the hardship the Contractors will suffer if pre-petition

obligations are not honored, as well as the harm that would result to the Debtor and various third

parties if any of the Contractors fail to effectively perform their duties, it is critical for the Debtor

to honor and timely pay its accrued pre-petition obligations to the Contractors as and when such

payment obligations become due. Authorization for the Debtor to pay the Contractors (which

payments are contemplated by the DIP Budget) is necessary to maintain the value of the

Debtor’s estate for all creditors and stakeholders.




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         F.       Utilities Motion

         70.      In the ordinary course of business, the Debtor obtains electricity, internet and

technology, water, and similar utility products and services (the “Utility Services”) from

“utilities” as that term is used in sections 366 of the Bankruptcy Code (the “Utility

Companies”). On average, the Debtor estimates that, prior to the Petition Date, it paid

approximately $12,850 per month on account of the Utility Services.

         71.      The Debtor has filed a motion requesting that the Court approve (a) the Debtor’s

proposed form of adequate assurance of post-petition payment (the “Proposed Adequate

Assurance”) to the Utility Companies and (b) the Debtor’s proposed procedures for resolving

any objections by the Utility Companies to the Proposed Adequate Assurance, and prohibiting

the Utility Companies from altering, refusing, or discontinuing service to, or discriminating

against, the Debtor.

         72.      The Debtor submits that its cash on hand and the proceeds of its proposed debtor-

in-possession financing facility will provide sufficient liquidity to pay all obligations related to

the Utility Services in the ordinary course of business. As additional Proposed Adequate

Assurance, however, the Debtor proposes to, within 20 days of the Petition Date, deposit funds

equal to approximately two weeks of compensation for Utility Services for each Utility

Company, based on the average monthly cost of the Utility Services determined by an annual

average (each such deposit, a “Utility Deposit”), into a segregated account that will be created

and funded after the Petition Date (the “Utility-Deposit Account”) or directly with the Utility

Company, provided, however, that the Debtor proposes no Utility Deposit for any Utility

Company that already holds a deposit or prepayment equal to or greater than two weeks of




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Utility Services. After taking into account existing deposits, the Debtor estimates that the Utility

Deposits will be no more than $300.00 in aggregate.

         73.      Segregating and maintaining the Utility Deposits in the Utility-Deposit Account

and/or providing such Utility Deposits directly to the Utility Company, together with the

additional procedures set forth in the motion, adequately protect the rights that I have been

advised are provided to the Utility Companies under the Bankruptcy Code, while also protecting

the Debtor’s need to receive, for the benefit of its estate, uninterrupted Utility Services upon

which its business depends. It is critical that the Utility Services continue uninterrupted during

the Chapter 11 Case.

                        Information Required by Local Bankruptcy Rule 1007-2

         74.      It is my understanding that Local Bankruptcy Rule 1007-2 requires that the

Debtor provide certain information, which is set forth below.

         75.      As required under Local Bankruptcy Rule 1007-2(a)(3), to the best of the

Debtor’s knowledge and belief, no official committee or ad hoc group of creditors was organized

prior to the Petition Date.

         76.      As required under Local Bankruptcy Rule 1007-2(a)(4), Exhibit C lists, to the

extent available, the following information with respect to the holders of the Debtor’s 20 largest

unsecured claims, excluding claims of insiders: the creditor’s name, address (including the

number, street, apartment or suite number, and zip code, if not included in the post office

address), telephone number, e-mail address, the name(s) of person(s) familiar with the Debtor’s

accounts, the amount of the claim, and an indication of whether the claim is contingent,

unliquidated, disputed or partially secured. In each case, the claim amounts listed on Exhibit C

are estimated and subject to verification. In addition, the Debtor expressly reserves its rights to

assert remedies, defenses, counterclaims, and offsets with respect to each claim.

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         77.      As required under Local Bankruptcy Rule 1007-2(a)(5), Exhibit D provides the

following information, to the extent available, with respect to each of the holders of the five

largest secured claims against the Debtor: the creditor’s name and address (including the number,

street, apartment or suite number, and zip code, if not included in the post office address), the

amount of the claim, a brief description and an estimate of the value of the collateral securing the

claim, and whether the claim or lien is disputed. In each case, the claim amounts listed on

Exhibit D are estimated and subject to verification. In addition, the Debtor expressly reserves its

rights to assert remedies, defenses, counterclaims, and offsets with respect to each claim.

         78.      As required under Local Bankruptcy Rule 1007-2(a)(6), the Debtor submits that

as of August 31, 2019, the Debtor’s unaudited consolidated financial statements, as prepared in

accordance with U.S. generally accepted accounting principles, aggregated $93.5 million in total

assets and $133 million in total liabilities.

         79.      As required under Local Bankruptcy Rule 1007-2(a)(7), there are no shares of

stock, debentures or other securities of the Debtor that are publicly held.

         80.      As required under Local Bankruptcy Rule 1007-2(a)(8), Exhibit E provides a list

of all the Debtor’s property in the possession or custody of any custodian, public officer,

mortgagee, pledgee, assignee of rents, or secured creditor, or agent for any such entity, giving the

name, address, and telephone number of each such entity and the court in which any proceeding

relating thereto is pending.

         81.      As required under Local Bankruptcy Rule 1007-2(a)(9), Exhibit F provides a list

of the premises owned, leased, or held under other arrangement from which the Debtor operates

its business.




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         82.      As required under Local Bankruptcy Rule 1007-2(a)(10), Exhibit G provides the

location of the Debtor’s substantial assets, the location of its books and records, and the nature,

location, and value of assets held by the Debtor outside the territorial limits of the United States.

         83.      As required under Local Bankruptcy Rule 1007-2(a)(11), Exhibit H provides a

list of the nature and present status of actions or proceedings, pending or threatened, against the

Debtor or their property where a judgment against the Debtor or a seizure of the Debtor’s

property may be imminent.

         84.      As required under Local Bankruptcy Rule 1007-2(a)(12), Exhibit I provides a list

of the names of the individuals who comprise the Debtor’s existing senior management, their

tenure with the Debtor, and a brief summary of their relevant responsibilities and experience.

         85.      As required under Local Bankruptcy Rule 1007-2(b)(1)-2(A) and (C), Exhibit J

provides the estimated weekly amounts amount to be paid to the Debtor’s third-party

independent contractors (exclusive of officers, directors, and stockholders) and the estimated

amounts proposed to be paid to officers, stockholders, directors, independent managers, and

financial and business consultants retained by the Debtor, for the thirty-day period following the

Petition Date.

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                                             EXHIBIT A

                                         Organizational Chart




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                                              EXHIBIT B

                                 List of Papers Seeking First-Day Relief

    1. Debtor’s Motion for Entry of an Order Extending the Debtor’s Time to File Its Schedules
       of Assets and Liabilities and Statement of Financial Affairs;

    2. Debtor’s Motion for Interim and Final Orders (I) Authorizing the Debtor to Obtain Post-
       Petition Financing, (II) Authorizing the Debtor to Use Cash Collateral, (III) Granting
       Liens and Providing Superpriority Administrative Expense Status, (IV) Granting
       Adequate Protection, (V) Invalidating Any Purported Prepetition Award of Attachment
       of Funds, (VI) Modifying the Automatic Stay, (VII) Scheduling a Final Hearing, and
       (VIII) Granting Related Relief;

    3. Debtor’s Motion for Entry of Interim and Final Orders Authorizing Debtor to Pay
       Prepetition Obligations to Certain Independent Contractors;

    4. Debtor’s Motion for Entry of Interim and Final Orders Authorizing It to (I) Maintain
       Existing Insurance Policies and Pay All Insurance Obligations Arising Thereunder and
       (II) Renew, Revise, Extend, Supplement, Change, or Enter into New Insurance Policies;
       and

    5. Debtor’s Motion for Entry of Interim and Final Orders (I) Approving Debtor’s Proposed
       Form of Adequate Assurance of Payment; (II) Establishing Procedures for Resolving
       Objections by Utility Companies; and (III) Prohibiting Utility Companies from Altering,
       Refusing, or Discontinuing Service.




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                                                               EXHIBIT C

                                   List of Holders of the Debtor’s Twenty Largest Unsecured Claims

       Pursuant to Local Bankruptcy Rule 1007-2(a)(4), the following is a list of creditors holding the Debtor’s twenty largest
unsecured claims as of the Petition Date.

        The information contained herein shall not constitute an admission of liability by, nor shall it be binding on, the Debtor. The
Debtor reserves all rights to (i) assert that any debt or claim included herein is a disputed claim or debt and (ii) challenge the priority,
nature, amount, or status of any such claim or debt. In the event of any inconsistencies between (x) the summaries set forth below and
(y) the corporate and legal documents underlying or legal principles governing such obligations, the latter shall control.

                                                                                                    Is the Claim
                                                                                     Nature of       Contingent,         Amount of
    Name of Creditor                           Creditor’s Address
                                                                                      Claim         Unliquidated,      Unsecured Claim
                                                                                                    or Disputed?
                                           1600 Arch Street, #300
                                           Philadelphia, PA 19103

             Tutor Perini                    Nida & Romyn, P.C.
                                                                                     Litigation
   1.         Building                  8383 Wilshire Blvd, Suite 810                                    CUD            $23,000,000.00
                                                                                       claim
             Corporation                   Beverly Hills, CA 90211
                                               Attn: Robert Nida
                                                 310-286-3400
                                            rnida@nidaromyn.com
                                        c/o Goldman Sachs Bank USA
                                                200 West Street
            GSNMF Sub-
                                          New York, NY 10282-219
              CDE 12
   2.                              Attn: Carrie Van Syckel, James Patchett,            Loan                             $14,065,000.00
               LLC
                                                and Andrea Gift
                                             gs-uig-docs@gs.com
                                           212-902-3000 (facsimile)



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                                                                                                Is the Claim
                                                                                  Nature of      Contingent,      Amount of
    Name of Creditor                           Creditor’s Address
                                                                                   Claim        Unliquidated,   Unsecured Claim
                                                                                                or Disputed?
                                       1930 Isaac Newton Square West
                                                   Suite 207
           GWB Leverage                       Reston, VA 20190
   3.                                                                               Loan                         $9,000,000.00
            Lender, LLC                   Attn: Stephen J. Garchik
                                                703-517-7004
                                         sgarchik@sjmpartners.com
                                             810 Second Avenue
                                            New York, NY 10017
              Zetlin &                                                           Professional
   4.                                        Attn: Michael Zetlin                                                 $945,781.53
            DeChiara LLP                                                           services
                                                212-300-1401
                                            MZetlin@zdlaw.com
                                   11890 Sunrise Valley Drive – Suite 554
                                              Reston, VA 20191
             SJM Partners
   5.                                     Attn: Stephen J. Garchik                Trade debt                      $898,682.32
                Inc.
                                                703-517-7004
                                         sgarchik@sjmpartners.com
                                               PO Box 418005
                                          Boston, MA 02241-8005
           FTI Consulting,                                                       Professional
   6.                                     Attn: Timothy Diffendall                                                $578,846.94
                Inc.                                                               services
                                                404-731-9084
                                      tim.diffendall@fticonsulting.com
                                        Dept 0250 – PO Box 120250
                                           Dallas, TX 75312-0250
   7.             DTI                      Attn: Adrienne Zipp                    Trade debt                      $430,950.79
                                                913-621-9945
                                           azipp@epiqglobal.com




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                                                                                                Is the Claim
                                                                                  Nature of      Contingent,      Amount of
    Name of Creditor                           Creditor’s Address
                                                                                   Claim        Unliquidated,   Unsecured Claim
                                                                                                or Disputed?
                                           205 West Walsh Drive
                                          Douglassville, PA 19518
                 STV
   8.                                       Attn: Michael Meloni                  Trade debt                      $418,595.40
             Incorporated
                                                212-505-4956
                                         michael.meloni@stvinc.com
                                     1829 Reisterstown Road – Suite 120
                                            Pikesville, MD 21208
              Goldberg &                                                         Professional
   9.                                      Attn: Howard Goldberg                                                  $227,087.97
              Banks, PC                                                            services
                                                410-580-9530
                                        hgoldberg@gbpclawfirm.com
                                     240 Cedar Knolls Road – Suite 106
                                           Cedar Knolls, NJ 07927
            Construction
  10.                                        Attn: Karen Berner                   Trade debt                      $203,831.53
            Claims Group
                                                973-285-0001
                                   klberner@constructionclaimsgroup.com
                                     1301 Atwood Avenue - Suite 211N
               American
                                             Johnston, RI 02919
  11.         Arbitration                                                         Trade debt                      $188,475.00
                                                866-293-4053
              Association
                                          886-644-0234 (facsimile)
                                        358 Fifth Avenue – Suite 902
                                            New York, NY 10001
           Botsaris Morris
  12.                                        Attn: Peter Botsaris                 Trade debt                      $184,385.83
            Realty Group
                                                212-630-9900
                                             pb@gobotmo.com




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                                                                                                Is the Claim
                                                                                  Nature of      Contingent,      Amount of
    Name of Creditor                           Creditor’s Address
                                                                                   Claim        Unliquidated,   Unsecured Claim
                                                                                                or Disputed?
                                       225 Park Avenue South - 15 Floor
                                            New York, NY 10003
                                            Attn: Amy Fisher, Esq.

                                 Skadden, Arps, Slate, Meagher & Flom LLP
                                                4 Times Square
          Port Authority of
  13.                                   New York, New York 10036                  Landlord                        $141,500.00
             NY & NJ
                                        Attn: Jay M. Goffman, Esq.
                                                 212-735-2120
                                         jay.goffman@skadden.com
                                       Attn: Christine A. Okike, Esq.
                                                 212-735-3491
                                       christine.okike@skadden.com
                                        5030 Broadway – Suite 633
                                            New York, NY 10034
            Facility Value
  14.                                        Attn: Emilio Veras                   Trade debt                      $118,035.80
                 Inc.
                                                 212-868-8914
                                       everas@facilityvalueinc.com
                                      6219 Leesburg Pike – Suite 800
            Baker Tilly                       Vienna, VA 22182
                                                                                 Professional
  15.     Virchow Krause,                   Attn: Bradley Nicklin                                                 $95,580.00
                                                                                   services
               LLP                               703-923-8596
                                        brad.nicklin@bakertilly.com
                                               330 Old Country
            Veritext New                       Road - Suite 300
           York Reporting                    Mineola, NY 11501                   Professional
  16.                                                                                                             $90,928.85
                 Co.                       Attn: Accounts Payable                  services
                                                 516-608-2400
                                           billing-li@veritext.com


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                                                                                                 Is the Claim
                                                                                   Nature of      Contingent,      Amount of
    Name of Creditor                            Creditor’s Address
                                                                                    Claim        Unliquidated,   Unsecured Claim
                                                                                                 or Disputed?
                                         920 Sylvan Avenue – Suite 220
          Daniel B. Katz &                Englewood Cliffs, NJ 07632
                                                                                  Professional
  17.       Associates,                         Attn: Brian Katz                                                   $85,000.00
                                                                                    services
               Corp.                              646-257-4995
                                             BrianKatz@dkatz.com
                                        366 Madison Avenue – 5th Floor
           SRS Real Estate                   New York, NY 10017
  18.        Partners-                         Attn: Dan Richman                   Trade debt                      $65,000.00
           Northeast, LLC                         212-710-5253
                                          Dan.Richman@SRSRE.com
                                       6800 Jericho Turnpike – Suite 216E
                                               Syosset, NY 11791
             Nautilus
  19.                                          Attn: Marie Brown                   Trade debt                      $59,950.00
          Consulting, LLC
                                                  631-891-3040
                                             mbrown@nautcon.com
                                                   PO Box 725
               C.A.R.E.                        Bayport, NY 11705
  20.         Enterprises                        Attn: Lina Torre                  Trade debt                      $59,329.62
                 Inc.                             631-472-8155
                                              lina@care-hvac.com




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                                                       EXHIBIT D

                    List of Holders of the Debtor’s Five Largest Secured Claims


       Pursuant to Local Bankruptcy Rule 1007-2(a)(5), the following is a list of creditors
holding the five largest secured claims against the Debtor as of the Petition Date.1

        The information contained herein shall not constitute an admission of liability by, nor
shall it be binding on, the Debtor. The Debtor reserves all rights to (i) assert that any debt or
claim included herein is a disputed claim or debt and (ii) challenge the priority, nature, amount,
or status of any such claim or debt. The descriptions of the collateral securing the underlying
obligations are intended only as brief summaries. In the event of any inconsistencies between (x)
the summaries set forth below and (y) the corporate and legal documents underlying or legal
principles governing such obligations, the latter shall control.


                                                                                                         Is the Claim
                                                         Amount of        Collateral Description
      Creditor Name              Creditor Contact                                                           or Lien
                                                          Claim                 and Value
                                                                                                          Disputed?

 1.   George Washington         99 Hudson Street –      $72,000,000.00   Senior lien on all or
      Bridge Bus Station        15th Floor                               substantially all of the
      and Infrastructure        New York, NY                             Debtor’s assets; value
      Development Fund,         10013                                    unknown.
      LLC
 2.   GSNMF Sub-CDE             GS New Markets          $5,000,000       Second priority lien on all
      12 LLC                    Fund, LLC                                or substantially all of the
                                200 West Street                          Debtor’s assets; value
                                New York, NY                             unknown.
                                10282

 3.   Upper Manhattan           55 West 125th Street    $4,800,000.00    Third priority lien on all or
      Empowerment Zone          New York, NY                             substantially all of the
      Development               10027                                    Debtor’s assets; value
      Corporation                                                        unknown.
 4.   Bank Direct Capital       150 North Field         $178,643.04      Insurance premium
      Finance                   Drive - Suite 190                        financing company is
                                Lake Forest, IL                          secured by the Debtor’s
                                60045                                    right, title, and interest in
                                                                         the Policy.
 5.   Stempel Bennett           678 Third Avenue –      $59,509.17       Cash in excess of
      Claman &                  31st Floor                               $119,000.00.
      Hochberg, P.C.            New York, New
                                York 10017




         1
          The Debtor has ordered and is awaiting information regarding alleged mechanics’ liens on its property.
To the extent that information necessitates changes to this Exhibit D, the Debtor will promptly file a supplemental
exhibit.


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                                             EXHIBIT E

                         Summary of Debtor’s Property Held by Third Parties

        Pursuant to Local Bankruptcy Rule 1007-2(a)(8), the following lists the Debtor’s
property, as of the Petition Date, that is in the possession or custody of any custodian, public
officer, mortgagee, pledgee, assignee of rents, secured creditor, or agent for any such entity.

        Certain of the Debtor’s property is likely to be in the possession of various other persons,
including maintenance providers, shippers, common carriers, materialmen, custodians, public
officers, mortgagees, pledgees, assignees of rents, secured creditors, or agents. Through these
arrangements, the Debtor’s ownership interest is not affected. In light of the movement of this
property, providing a comprehensive list of the persons or entities in the possession of the
property, their addresses and telephone number, and the location of any court proceeding
affecting such property would be impractical.


        Third Party Contact Addresses                       Description of Property Holdings

Consolidated Edison, Inc.                             Utility Deposits
JAF Station PO Box 1702
New York, NY 10116-1702
1-800-752-6633 or 1-212-243-1900




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                                             EXHIBIT F

         Summary of Debtor’s Property from Which the Debtor Operates Its Business

       Pursuant to Local Bankruptcy Rule 1007-2(a)(9), the following lists the location of the
premises owned, leased, or held under other arrangement from which the Debtor operate it
business as of the Petition Date.

                                                                                   Owned or
             Property Address                          City, State       Country
                                                                                    Leased
          4201-4219 Broadway                       New York, New York     USA       Leased
a/k/a 406-422 Fort Washington Avenue
    a/k/a 701-721 West 178th Street
    a/k/a 700-720 West 179th Street
          4200-4218 Broadway                       New York, New York     USA        Leased
   a/k/a 100-110 Wadsworth Avenue
    a//k/a 651-667 West 178th Street
    a/k/a 650-664 West 179th Street




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                                              EXHIBIT G

  Location of the Debtor’s Substantial Assets, Location of Its Books and Records, and
Nature, Location, and Value of Assets held by the Debtor Outside the Territorial Limits of
                                    the United States

        Pursuant to Local Bankruptcy Rule 1007-2(a)(10), the following provides the location of
the Debtor’s substantial assets, books and records, and the nature, location, and value of any
assets held by the Debtor outside the territorial limits of the United States as of the Petition Date.

                                 Location of Debtor’s Substantial Assets

         The Debtor’s substantial assets are located in New York, New York.

                                   Location of the Books and Records

       The Debtor’s books and records are located at 104 Brattle Circle, Melville, New York
11747 and at 46 Beacon Hill, Sparta, New Jersey 07871.

                                Debtor’s Assets Outside the United States

         The Debtor owns no assets outside of the territorial limits of the United States.




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                                                   EXHIBIT H

                                Summary of Legal Actions Against the Debtor

        Pursuant to Local Bankruptcy Rule 1007-2(a)(11), the following lists actions and
proceedings pending or threatened against the Debtor or its properties where a judgment against
the Debtor or a seizure of its property may be imminent as of the Petition Date.2 This list reflects
actions or proceedings considered material by the Debtor and, if necessary, will be supplemented
in the corresponding schedules to be filed by the Debtor in this chapter 11 case.



      Entity              Case Caption          Case No.          Court and           Nature            Status
                                                                 Jurisdiction        of Claim

Tutor Perini             Tutor Perini         001-0002-         American            Breach of      Arbitration
Building                 Building             7881              Arbitration         contract       pending. Interim
Corporation              Corporation v.                         Association                        attachment of
                         George                                                                    funds for
                         Washington Bridge                                                         $23,000,000 was
                         Bus Station                                                               confirmed by the
                                              19-05344          U.S. District
                         Development                                                               U.S. District
                                                                Court for the
                         Venture, LLC                                                              Court for the
                                                                Southern District
                                                                                                   Southern District
                                                                of New York
                                                                                                   of New York.

Stempel Bennett          Stempel Bennett      651809/2016       Supreme Court       Non-           Plaintiff has
Claman &                 Claman &                               of the State of     payment of     executed on its
Hochberg, P.C.           Hochberg, P.C. v.                      New York,           legal fees     judgment and
                         George                                 County of New                      certain of the
                         Washington Bridge                      York                               Debtor’s bank
                         Bus Station                                                               accounts were
                         Development                                                               subject to a hold.
                         Venture, LLC                                                              In the days prior
                                                                                                   to the Petition
                                                                                                   Date, Plaintiff
                                                                                                   removed assets
                                                                                                   from the Debtor’s
                                                                                                   bank account and
                                                                                                   Plaintiff’s lien
                                                                                                   was released.
                                                                                                   The Debtor is
                                                                                                   investigating
                                                                                                   these transactions.




         2
          The Debtor has ordered and is awaiting information regarding certain litigation that it believes to be
pending but which is not available online. To the extent that information necessitates changes to this Exhibit H, the
Debtor will promptly file a supplemental exhibit.


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      Entity              Case Caption          Case No.       Court and        Nature            Status
                                                              Jurisdiction     of Claim

Alain Perez              Perez v. Port         154910/18     Supreme Court     Personal      Paper discovery is
                         Authority of New                    of the State of   injury        ongoing.
                         York and New                        New York,         action
                         Jersey et al.                       County of New     under New
                                                             York              York’s
                                                                               labor law
George Washington        George                850155/2019   Supreme Court     Foreclosure   This action was
Bridge Bus Station       Washington Bridge                   of the State of   action        filed in August of
and Infrastructure       Bus Station and                     New York,                       2019 and is in its
Development Fund,        Infrastructure                      County of New                   preliminary
LLC                      Development                         York                            stages.
                         Fund, LLC v.
                         George
                         Washington Bridge
                         Bus Station
                         Development
                         Venture LLC et al.
SRS Real Estate          SRS Real Estate       653405/2019   Supreme Court     Breach of     Plaintiff has
Partners-Northeast,      Partners-Northeast,                 of the State of   contract      moved for a
L.L.C.                   L.L.C. v. George                    New York,                       $65,000 default
                         Washington Bridge                   County of New                   judgment.
                         Bus Station                         York
                         Development
                         Venture LLC
Jamal Green              Green v. Port         153931/2017   Supreme Court     Personal      Discovery is
                         Authority of New                    of the State of   injury        ongoing.
                         York and New                        New York,         action
                         Jersey et al.                       County of New     under New
                                                             York              York’s
                                                                               labor law
Lee Williams             Williams v. Port      154033/2017   Supreme Court     Personal      Discovery is
                         Authority of New                    of the State of   injury        ongoing.
                         York and New                        New York,         action
                         Jersey et al.                       County of New     under New
                                                             York              York’s
                                                                               labor law
Mario Ayars              Ayars v. Port         158178/2017   Supreme Court     Personal      Discovery is
                         Authority of New                    of the State of   injury        ongoing.
                         York and New                        New York,         action
                         Jersey et al.                       County of New     under New
                                                             York              York’s
                                                                               labor law
Derek Wortham            Wortham v.            159755/2018   Supreme Court     Personal      Discovery is
                         George                              of the State of   injury        ongoing.
                         Washington Bridge                   New York,         action
                         Bus Station                         County of New     under New
                         Development                         York              York’s
                         Venture LLC                                           labor law




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      Entity              Case Caption         Case No.       Court and        Nature           Status
                                                             Jurisdiction     of Claim

Christopher              Mahoney v.           33198/2018E   Supreme Court     Personal     Discovery is
Mahoney                  George                             of the State of   injury       ongoing.
                         Washington Bridge                  New York,         action
                         Bus Station                        Bronx County      under New
                         Development                                          York’s
                         Venture LLC et al.                                   labor law
FTI Consulting, Inc.     FTI Consulting,      655425/2019   Supreme Court     Breach of    This action was
                         Inc. v. George                     of the State of   contract     filed in August of
                         Washington Bridge                  New York,                      2019 and is in its
                         Bus Station                        County of New                  preliminary
                         Development                        York                           stages.
                         Venture LLC
Café at 178th LLC        Café at 178th LLC    652001/2019   Supreme Court     Breach of    This action was
MNG 178th, LLC           et al. v. George                   of the State of   contract     filed in August of
                         Washington Bridge                  New York,                      2019 and is in its
                         Bus Station                        County of New                  preliminary
                         Development                        York                           stages.
                         Venture LLC
C2G International,       n/a                  n/a           n/a               Non-         Demand letter
LLC                                                                           payment of   sent in September
                                                                              fees for     of 2019. Amount
                                                                              consulting   demanded is in
                                                                              services     excess of amount
                                                                                           listed on Debtor’s
                                                                                           books and
                                                                                           records.




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                                                 EXHIBIT I

                                      Debtor’s Senior Management

       Pursuant to Local Bankruptcy Rule 1007-2(a)(12), the following provides the names of
the individuals who constitute the Debtor’s existing senior management, their tenure with the
Debtor, and a brief summary of their responsibilities and relevant experience as of the Petition
Date.


     Name/Position                      Relevant Experience/Responsibility                   Tenure

Bernard A. Katz, CPA,           Mr. Katz has over 30 years of practical experience in      September
   CIRA, CFE, CFF               bankruptcy and corporate restructuring, forensic           29, 2019 to
Manager                         accounting, and litigation support. He has provided        Present
                                financial advisory services to distressed companies,
                                conducted corporate investigations, and has audit
                                experience and GAAP knowledge of private
                                companies. Mr. Katz has significant experience in the
                                commercial real estate, retail, healthcare,
                                manufacturing, distribution, and telecommunications
                                industries.

                                Mr. Katz began working with the Debtor in July of
                                2019. He initially served as an independent advisor,
                                tasked with assisting the Debtor on all financial issues
                                pending the hiring of a financial advisor. On
                                September 29, 2019, Mr. Katz was appointed Manager
                                of the Debtor. In that capacity, he has full control
                                over the Debtor’s day-to-day operations, restructuring
                                and sale efforts, and litigation strategy.




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                                             EXHIBIT J

               Compensation for the Thirty-Day Period Following the Petition Date

        Pursuant to Local Rules 1007-2(b)(1)-(2)(A) and (C), the following provides, for the 30-
day period following the Petition Date, the estimated amount of weekly compensation (exclusive
of officers, directors, and stockholders), the estimated amount paid and proposed to be paid to
officers, stockholders, and directors, and the amount paid or proposed to be paid to financial and
business consultants retained by Debtor.

        Estimated amount of monthly compensation to certain independent contractors (exclusive
of officers, directors, and stockholders): $71,000.00.

       Estimated amount paid and proposed to be paid to officers, stockholders, directors, and
independent managers: $60,000.

         Amount paid or proposed to be paid to financial and business consultants: $0.00.




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                                                         EXHIBIT K

Debtor’s Estimated Cash Receipts and Disbursements for the Thirty-Day Period Following
                                   the Petition Date

       Pursuant to Local Rule 1007-2(b)(3), the following provides, for the 30-day period
following the Petition Date, the Debtor’s estimated cash receipts and disbursements, net cash
gain or loss, and obligations and receivables expected to accrue that remain unpaid, other than
professional fees.


Estimated Cash Receipts                                            $0.00

Estimated Cash Disbursements                                       ($865,128.00)

Net Cash Loss                                                      ($865,128.00)

Accrued Obligations                                                $365,0003

Uncollected Receivables                                            $0.004




            3
           The estimate of accrued and unpaid obligations reflects general, standardized assumptions on vendor payment
terms, gross-to-nets, and monthly disbursements.

            4
                The estimate of uncollected receivables reflects standardized assumptions on the timing of the payment of
receipts.


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